Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 1 of 22 PagelD #:182
. “Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 2 of 22 PagelD #:183
Bon Deig retum date scheduled

eanngdate: 4/20/2019 10:30 AM --10:30 AM
sourtroom Number: 2102

tion: District 1 Court FILED
oe Cook County, IL 12/31/2018 1:50 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL
2018CH16150
2129 Served

2229 Wot Served
2329 Served by Mail
Summons in Administrative Review __ (08/08/18) CCL 0040 A
IN THE CIRCUIT COURT OF COOK COUNTY,ILLINOIS.
COUNTY DEPARTMENT, LAW DIVISION

John A. Scatchell,
2018CH16150

Vv. Case No.

Board of Fire and Police Commissioners for the Village of Melrose
Park, IL, Director Samuel! Pitassi, Deputy Chief Michael Castellan,
Village of Melrose Park, 11, Commissioner M. Caputo,
Commissioner P. Esposito, and Commissioner M. Rauzi,

SUMMONS IN ADMINISTRATIVE REVIEW
To each Defendant:

YOU ARE SUMMONED and required to file an answer in this case, or otherwise file your
appearance within thirty-five (35) days after the date of this summons. To file your answer or
appearance you need access to the internet. Please visit www.covkcountyclerke .otp to initiate
this process. Kiosks with internet access are available at all Clerk’s Office locations. Please refer to
the last page of this document for location information.

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
create an account with an e-filing service provider. Visit http:/ / efile illinoiscourts.pov/ service-providers.htm
to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit hetp:/ /
www.illinoiscourts.gov/FAQ/gethelp.asp, or talk with your local circuit clerk's office. ‘i

zy OCC 31 20

Ee
Atty. No; 49766 WingGROTHY b--S +5 DOROTHY BROWN
Atty Name: Law Office of Christopher Cooper, Inc.
Atty, for; Plaintifé
Address: 79 W Montoe Street, Suite 1213
City: Chicago
State: Zip, 60603

Telephone: 312-473-2968

Primary Email: coopetlaw3234@gmail.com

Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
. Page 1 of 3
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 3 of 22 PagelID #:184
(08/08/17) CCL 0040 B

2 “oieTetrarh Review

CERTIFICATE OF MAILING

Stimmentinn
meester

, F sent by registered mail a copy of this summons to each defendant addressed

Defendant

Address

Sood of Fre and Police Commissioners of Village of Melrose Park IL

1000 N. 25th Avenue, Melrose Park, IL 60160

Director Samuel Pitassi

1 N 19th Avenue Melrose Park, IL 60160

Deputy Chief Michael Castellan

1 N 19th Avenue Melrose Park, IL. 60160

Village of Melrose Park, IL.

1 N 19th Avenue Melrose Park, IL 60160

Commissioner M. Caputo

1000 N, 25th Avenue, Melrose Park, IL 60160

Commissioner P. Esposito

1000 N. 25th Avenue, Melrose Park, IL 60160

Commissioner M. Rauzi

1000 N. 25th Avenue, Melrose Park, IL 60160

. i270 ""~
Dated:

Dorothy Brown, Clerk of the Circuit Court of Cook County, Ilinois
cookcountyclerkofcourt.org

Page 2 of 3

ROTHY RQ ENOREuNT 2018

Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 4 of 22 PagelD #:185

IN THE CIRCUIT COURT OF COOK COUNTY
CHANCERY DIVISION

JOHN A. SCATCHELL,

Plaintiff, No. 2018 CH

BOARD OF FIRE AND POLICE
COMMISSIONERS FOR THE
VILLAGE OF MELROSE PARK, IL.,
DIRECTOR SAMUEL PITASSI, DEPUTY
CHIEF MICHAEL CASTELLAN,
VILLAGE OF MELROSE PARK, IL.,
COMMISSIONER M. CAPUTO,
COMMISSIONER P. ESPOSITO, AND,
COMMISSIONER M. RAUZI,
Defendants.

VERIFIED! COMPLAINT FOR JUDICIAL REVIEW
AND DECLARATORY RELIEF PURSUANT TO ARL
AND/OR, IN THE ALTERNATIVE, THE INSTANT IS A PETITION FOR A

WRIT OF CERTIORAI FOR THE PURPOSE OF REVIEW, INTER ALIA
anne Ws ANTER ALIA

NOW COMES Plaintiff John A. Scatchell (“Scatchell” or “Plaintiff’), by and
through his attorney, Christopher Cooper of the Fraternal Order of Police Legal
Defense Plan (FOP), and for Scatchell’s Complaint for Judicial Review
predicated on Administrative Review Law (ARL) and for Declaratory Relief; and.
or that Review and Other Relief is sought by way of a common law writ of
certiorari. Through counsel, Plaintiff states as follows:

JURISDICTION & VENUE

Jurisdiction of this court arises under one or both of the following: via a
petition for a common law writ of certiorari Hanrahan v. Williams, 174 Ill. 2d

268, 272 (1996); or by way of Chapter 735 ILCS 5/3-101 through 735 ILCS

’ See signature of Plaintiff.
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 5 of 22 PagelD #:186

5/3-112. Additionally, based on the averments within, jurisdiction is also had
pursuant to 735 ILCS 5/2-701; as well as predicated on Illinois case law,
namely Siddens v. Indust Comm'n, 711 N.E.2d 18, 22 (1999) and its progeny, to
include Daniels v. Indus. Comm’n, 711 N.E.2d 936, 940 (2002) and, Taylor v.
Dart, 64 N.E.3d 123, 126-27 (2016), each holding: “[w]here an administrative
body acts outside of its specific statutory authority, it acts without
jurisdiction, and its actions are void and a nullity from their inception.”
(Daniels at 940); and, “[w]here an agency's action is void, it may be
attacked at any time, in any court, either directly or collaterally.” (Id. at
940).

Venue is had through the events or omissions giving rise to the claims
having occurred in Cook County.

Parties

1. Plaintiff John Scatchell is an adult residing in the County of Cook,
Illinois. He was employed by the Village of Melrose Park as a police officer until
December 6, 2018. He was harmed by Defendants in Cook County, Illinois
during all relevant times to this action.

2. Defendant Village of Melrose Park, Illinois is an incorporated
municipality located in Cook County, Illinois with a principle place of business
of 1000 N. 25th Avenue, Melrose Park, IL 60160. The Village maintains a police
agency known as the Melrose Park Police Department. Melrose Park is named
in its capacity as Scatchell’s employer. Defendant harmed Plaintiff primarily in

Cook County but in other Illinois counties as well.
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 6 of 22 PagelD #:187

3. Defendant Board of Fire and Police Commissioners for the Village of
Melrose Park (hereinafter “BOFPC” or “Board”) is a purported three-member
administrative agency in Cook County, Illinois, subject to the Board of Fire and
Police Commissioners Act 65 ILCS 5 /101-1 et seq. (hereinafter the “Act”) and to
Illinois Administrative Review Law (ARL), namely Chapter 735 ILCS 5 /3-101
through 735 ILCS 5/3-112. The purported Board shares the address of the
municipality, supra. Plaintiff contends the Board does not exist as it was
abolished in 2012. The illegal Board joined with its defects in appointments to
the Board, have rendered its actions from 2012 to 2018 void. The purported
and illegal Board harmed Plaintiff in Melrose Park, Illinois.

4. Defendant Pitassi is the most senior member of the Melrose Park
Police Department (1 N 19th Avenue Melrose Park, IL 60160).

Defendant harmed Plaintiff primarily in Cook County but in other Illinois
counties as well.

5. Defendant Castellan is the deputy chief of the Melrose Park Police
Department (1 N 19th Avenue Melrose Park, IL 60160).

Defendant harmed Plaintiff primarily in Cook County but in other Illinois
counties as well.

6. COMMISSIONERS Michael Caputo; Pasquale Esposito, and
Mark Rauzi, ARE NAMED AS TO THEIR ROLE AS “COMMISSIONERS.”
THE GERMANE STATUTE COULD BE INTERPRESTED BY SOME COURTS
AS REQUIRING THEM TO BE NAMED. They sit on the purported Board

and did preside over the Scatchell matter at all times for the which the
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 7 of 22 PagelD #:188

above captioned matter is concerned. They are the signatories of the
Board’s final Decision\Order. Plaintiff was harmed by the Board in Cook

County.

Synopsis

Plaintiff Scatchell was a Melrose Park Police officer until December 6,
2018. (See attached Ex. 1, the termination Order-Opinion). On that date, he
was terminated from his employment by Defendant Board (an illegal entity)
following an administrative trial. Plaintiff had been charged administratively by
his police chief and assistant police chief (described as the Petitioner [in the
singular]) with violating certain departmental rules and Illinois laws. (Id.).

Scatchell seeks Administrative Review and Declaratory Judgment. As to
the latter, Plaintiffs position is that the Board of Fire and Police
Commissioners (BOFPC or Board) lacked authority to have initiated and
Maintained a disciplinary proceeding against him because the Board (BOFPC)
was abolished on July 9, 2012. (Ex. 3).

Facts

1. Based upon reasonable information and belief, Plaintiff was the
first person \litigant to allege in court filings that the BOFPC is illegal (see
Plaintiff's other action, namely 2018 CH 07685 in the Circuit Cook of Cook
County. Discussion to follow [infra.]),

2. The Village of Melrose Park’s Ordinance § 1613 (Ex. 3) amended

the Village’s Chapter 2.76.
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 8 of 22 PagelD #:189

3. On July 9, 2012, the Board of Fire and Police Commissioners was
abolished pursuant to Ordinance § 1613.

4. On the same date, pursuant to Ordinance 161 3, there was created
a “Personnel Board” (see Ordinance § 2.76.060 which used the verbiage
“Personnel Board’).

5. Ordinance1613 and Chapter 2.76.060 represent the abolition of
the BOFPC and the creation of the Personnel Board of the Village of Melrose
Park. Ordinance1613 and Chapter 2.76.060 each read in part that the
“Personnel Board ...shall assume all of the powers and duties of the board of
fire and police commissioners."

6. § 2.76.060 includes the following provisions:

. 2.76.060 - Created—Composition.

There is hereby created the "Personnel Board" of the Village of Melrose
Park, which shall consist of no greater than five members appointed by
the Mayor with the advice and consent of the board of trustees.

(Ord. No. 1613, § 10.06, 7-9-2012)

. 2.76.070 - Members of the personnel board.

The term of each member of the personnel board shall be for three
years. All members shall serve until their successors are appointed and
qualified. Appointments shall be staggered so that no more than two

(Ord. No. 1613, § 10.07, 7-9-2012)

° 2.76.080 - Officers of the personnel board.
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 9 of 22 PagelID #:190

The mayor shall designate the chairman of the personnel board. The
personnel board may appoint one of its members to act as secretary or
may employ a person to act as secretary.

(Ord. No. 1613, § 10.08, 7-9-2012)

° 2.76.090 - Meetings.

The personnel board shall meet as necessary and in accordance with a
schedule to be determined by the personnel board. Said meetings shall
be open to the public and shall comply with the open meetings law of
the state. The business of said meetings shall be governed by Robert's
Rules of Order unless the personnel board shall adopt its own rules of
order.

(Ord. No. 1613, § 10.09, 7-9-2012)

. 2.76.100 - Finances.

The personnel board shall receive an annual budget. The board may
expend such money as is approved by the mayor and board of trustees
pursuant to procedures established thereby. Members of the board

shall receive such compensation and expenses as approved by the
mayor and board of trustees in the annual budget.

(Ord. No. 1613, § 10.10, 7-9-2012)

7. Contrary to the legislation, the Village of Melrose Park does not
have a Personnel Board. (Ex. 4). Notice in the latter that there is listed a
Personnel Committee which is distinguishable from the BOFPC which is also
listed. The primary way to notice that the two are distinguishable is to note
that each has its own members and combined, totaling six people).

8. As corroboration of such aforementioned averment, Defendant
Village of Melrose Park (Village) was served with a FOIA request in April 2018,
seeking records of\for the “Personnel Board.” The Village responded in a letter

dated April 17, 2018, which reads in part:

6
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 10 of 22 PagelD #:191

“The Village is not in Possession of any records which are
responsive to your request as the Village does not have a
personnel board.” (Ex. 5, which includes the FOIA
response).

9, The abolished BOFPC is overseeing the matter for which
Plaintiff\ Officer Scatchell has been administratively charged (the matter can be
captioned in either of the following ways: Chief\ Director Pitassi v. John
Scatchell, Jr. or In the Matter of Officer John Scatchell, Jr. (See Ex. 2)).

10. Since the BOFPC is non-existent as of July 9, 2012, supra, any
action it has taken since July 9, 2012, is void.

11. The Personnel Board and the BOFPC are two Separate, distinct
bodies.

12. The annual budgets for Melrose Park (since 2012 to present) are
attached. None list a Personnel Board. (See Ex. 4).

13. The budgets do include a BOFPC.

14. Even if the Court were to find that Board has not been abolished,
the Board is illegal for two reasons: a. all three commissioners share the
Same term. This represents that in violation of 2.76.070, none have staggered
terms; and, b) all three members share the same political association.

15. The reason the political association rule is offended where the
Board is assumed to have not been abolished is that 65 ILCS 5 /10-1-1 would

apply but for abolition. 65 ILCS 5 /10-1-1 disallows all three commissioners

from sharing the same political party.
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 11 of 22 PagelD #:192

16. Based on reasonable information and belief, all three [BOFPC]
commissioners (Mr. Rauzi, Mr. Esposito, and Mr. Caputo) are members of the
same political party.

17. In April 2018, the Board and its members knew the Board was
illegal, yet the Board represented itself as legal.

18. Throughout the pendency of the “Scatchell Matter,” the Board and
its members have known the Board is, and has always been illegal, starting in
2012 to present (including on December 6, 2018).

19. In April 2018, Scatchell was charged by Petitioner (by way ofa
Complaint\Statement of Charges) with violating rules and regulations of the
Melrose Park Police Department, as well as charged with violating one or more
Illinois laws. The filing of a Complaint before the Board in April was the start
of the administrative process in which the Petitioner prosecuted Plaintiff.

20. Thereafter, Plaintiff filed an action in the Circuit Court of Cook
County alleging the Board is illegal (2018 CH 07685), joined with a request
for injunctive relief because the Board at all times has been illegal. The
matter is pending.

21. The administrative process (before the Board) lasted
approximately 8 months and a couple of days. There was extensive motion
practice and multiple status hearings.

22. On the last day of trial, Petitioner withdrew \ dismissed Count VI]
(Disobeying Lawful Order Regarding Time Off to Travel During Medical

Leave) and Count XII (Conduct Unbecoming and in Violation of the Law).

8
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 12 of 22 PagelD #:193

23. Following a trial, the bulk of which occurred in November 2018,
on December 6, 2018, Plaintiff Scatchell was found guilty of certain counts
and acquitted on others. Nonetheless, the Board terminated Plaintiff's
employment as a Melrose Park Policeman, effective December 6, 2018. (See

Ex. 1, the Board’s final decision and Order).

COUNT I - Board Decision
Was Against the Manifest Weight the Evidence

1. Plaintiff repeats, re-alleges and incorporates by reference, the

allegations in aforementioned paragraphs (including the “Facts” section with
the same force and effect as if herein set forth).

2. The Board Decision \ Order (Ex. 1) terminating Scatchell’s

employment:
a. is\was against the manifest weight of the evidence;
b. clearly erroneous;
Cc. was and is unconstitutional in that it violated Scatchell’s

Fifth Amendment right not to incriminate himself and to remain
silent;
d. represents a violation of what was Plaintiffs due process

entitlement throughout the pendency of the administrative

process;
e. violated the Illinois' Uniform Peace Officers' Disciplinary Act;
and,
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 13 of 22 PagelD #:194

f. the discipline imposed is arbitrary and Capricious; unrelated
to the requirements of the service; is based on trivial and
unsubstantiated allegations; and, does not constitute sufficient

cause for termination.

3. Plaintiff suffered harm which included loss of income.

4. Defendants proximately caused Plaintiff's harm.

WHEREFORE, Plaintiff respectfully requests that this Court review the
Decision of the Board and enter an order setting aside and reversing the
Decision in its entirety. Plaintiff further requests to be made whole for all
losses, including but not limited to reinstatement, back pay and back benefits
with interest, loss of seniority, pension losses, and for any other relief that this
Court deems just and equitable. And, that such back pay order is “continuing”
from the start date of December 6, 2018.

COUNT II
There was no Showin that there was “Cause” to Terminate Plaintiff's

Employment or that Plaintiff Demonstrated a Substantial Shortcoming

Which Would Render Him Unfit to Practice as a Melrose Park Policeman
Sete Would Render Him Unfit eer ose Fark Policeman

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in aforementioned paragraphs (including the “Facts” section with
the same force and effect as if herein set forth).

2. Defendant Board lacked cause to terminate Plaintiff Scatchell’s

employment.
10
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 14 of 22 PagelD #:195

“Cause” in Illinois has been defined as “some substantial shortcoming
which renders [the employee’s] continuance in his office or employment
in some way detrimental to the discipline and efficiency of the service

and something which the law and a sound public opinion recognize as a

good cause for his no longer occupying the place.”

3. The aforementioned standard was not satisfied in the Board
proceeding or in its final order; therefore, Plaintiff's termination should be
rescinded.

WHEREFORE, Plaintiff respectfully requests that this Court review the
Decision of the Board and enter an order setting aside and reversing the
Decision in its entirety. Plaintiff further requests to be made whole for all
losses, including but not limited to reinstatement, back pay, and back benefits
with interest, loss of seniority, pension losses, and for any other relief that this

Court deems just and equitable. And, that such back pay order is “continuing”

from the start date of December 6, 2018.

COUNT III - Declaratory Judgment

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the
section entitled “FACTS,” with the same force and effect as if herein set
forth.

2. Siddens v. Indust Comm'n, 711 N.E.2d 18, 22 (1999) and its
progeny, to include Daniels v. Indus. Comm, 711 N.E.2d 936, 940 (2002)
and, Taylor v. Dart, 64 N.E.3d 123, 126-27 (20 16), each hold: “[w]Jhere an
administrative body acts outside of its specific statutory authority, it

acts without jurisdiction, and its actions are void and a nullity from

11
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 15 of 22 PagelD #:196

their inception.” (Daniels at 940); and, “[w]here an agency's action is
void, it may be attacked at any time, in any court, either directly or
collaterally.” (Id. at 940).

3. The Board which oversaw the Scatchell matter is illegal;

therefore, the purported Board does not exist.

4. Since the Board is illegal, all of its actions since inception area
nullity.

5. There are justiciable issues.

6. There are an actual case and controversy.

7. Plaintiff was harmed by Defendants’ actions and conduct.

8. Plaintiff could be harmed in the future for same offensive
conduct.

9. Plaintiff suffered harm which included loss of employment;

financial losses; legal fees; pain and suffering; and stress.

10. Defendants were and are the proximate cause of Plaintiff's
harm.

WHEREFORE, the Plaintiff prays that the Circuit Court declare that the
Board is illegal and that “[w]here an administrative body acts outside of its
specific statutory authority, it acts without jurisdiction, and its actions are void
and a nullity from their inception.” Therefore, [that] the Court finds every
action by the Board in the Scatchell administrative matter, is a nullity \void.
And, furthermore, that Plaintiff is returned to status quo which is the time

period prior to his having been charged by Petitioner for violating police

12
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 16 of 22 PagelD #:197

department regulations. Plaintiff seeks monetary relief to include back pay for

any period of time for which he was deprived of his salary.

COUNT IV —- VIOLATIONS OF THE

OPEN MEETINGS ACT (5 ILCS 120/) TO INCLUDE A DUE PROCESS
VIOLATION CAUSED BY THE VIOLATIONS

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the
section entitled “FACTS,” with the same force and effect as if herein set
forth.

2. Defendant Board failed to post notices as to status and trial

hearing dates. This, in violation of 5 ILCS 120/.

3. The Board did not vote in an “open session” to terminate
Plaintiff.

4. There is not a “transcript-record” of the decision to terminate.

5. There is not a notice of executive session for the purpose of
deliberations.

6. By the Board’s failure to abide by 5 ILCS 120/, Plaintiff was
deprived of due process.

7. Plaintiff was harmed by Defendants' actions and conduct.

8. Plaintiff suffered harm which included loss of employment;
financial losses; legal fees; pain and suffering; and stress.

9. Defendants were and are the proximate cause of Plaintiff's

harm.

13
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 17 of 22 PagelD #:198

WHEREFORE, the Plaintiff prays that if the Circuit Court finds that the
Board’s decisions (multiple between April 2018 and December 6, 2018) are not
void ([as] for the reasons indicated in Count 1), then that the Court find all
decisions by the Board (including the termination decision) are void for the
Board’s failure to abide by 5 ILCS 120/. And, furthermore, that Plaintiff is
returned to status quo which is the time period prior to his having been
charged by Petitioner for violating police department regulations. Plaintiff seeks
monetary relief to include back pay for any period of time for which he was
deprived of his salary.

COUNT V: ANY AND ALL GUILTY FINDINGS AS TO SICK LEAVE ARE VOID
SINCE THE CBA WAS VIOLATED .

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the
section entitled “FACTS,” with the same force and effect as if herein set
forth.

2. Defendants violated the Collective Bargaining Agreement (CBA)
by not following the CBA's rule that a “sick leave board” must be convened
where an officer has been on sick leave in excess of 30 days.

3. Plaintiff was harmed by Defendants’ actions and conduct.

4. Plaintiff suffered harm which included loss of employment;
financial losses; legal fees; pain and suffering; and stress.

5. Defendants were and are the proximate cause of Plaintiff's

harm.

14
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 18 of 22 PagelD #:199

WHEREFORE, the Plaintiff prays that if the Circuit Court finds that the
Board’s decisions (multiple between April 2018 and December 6, 2018) are not
void (as for the reasons indicated in Count 1), then that the Court find all
decisions by the Board (including the termination decision) void for the Board’s
failure to abide by 5 ILCS 120/. And, furthermore, that Plaintiff is returned to
status quo which is the time period prior to his having been charged by
Petitioner for violating police department regulations. Plaintiff seeks monetary
relief to include back pay for any period of time for which he was deprived of
his salary.

COUNT VI: COUNT EIGHT OF THE ADMINISTRATIVE COMPLAINT WAS

BROUGHT IN VIOLATION OF PLAINTIFF’S ENTITLEMENT TO DUE
PROCESS

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the
section entitled “FACTS,” with the same force and effect as if herein set
forth.

2. Plaintiff did not have “effective notice” that he might be found
guilty of exercising his 5+ Amendment right to remain silent.

3. Plaintiff was harmed by Defendants’ actions and conduct.

4. Plaintiff suffered harm which included loss of employment;
financial losses; legal fees; pain and suffering; and stress.

5. Defendants were and are the proximate cause of Plaintiff's

harm.

15
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 19 of 22 PageID #:200

WHEREFORE, the Plaintiff prays that if the Circuit Court finds that the
Board’s decisions (multiple between April 2018 and December 6, 2018) are not
void (as for the reasons indicated in Count 1), then that the Court finds Count
Ill of the Amended Complaint (before the Board) is void. Therefore, the guilty
finding as to Count III must be void. Plaintiff seeks monetary relief to include
back pay for any period of time for which he was deprived of his Melrose Park
salary.

COUNT VII: THE FINDINGS OF GUILT AS TO EACH RESPECTIVE
COUNT ARE VOID SINCE COUNT VII OF THE ORIGINAL AND

AMENDED COMPLAINTS WAS DISMISSED\WITHDRAWN BY THE
PETITIONER

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the
section entitled “FACTS,” with the same force and effect as if herein set
forth.

2. The Board rules require a finding of “Probable Cause” in order
for an administrative prosecution to occur.

3. Count XII was the basis of a Probable Cause finding for all
other counts.

4. When Count XII was dismissed \withdrawn, there was no
longer probable cause for any remaining charge.

5. A probable cause finding as to all charges (not including Count
XII) was predicated on Count XII.

6. Plaintiff was harmed by Defendants' actions and conduct.

16
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 20 of 22 PagelD #:201

7. Plaintiff suffered harm which included loss of employment;
financial losses; legal fees; pain and suffering; and stress.

8. Defendants were and are the proximate cause of Plaintiffs
harm.

WHEREFORE, the Plaintiff prays that if the Circuit Court finds that the
Board’s decisions (multiple between April 2018 and December 6, 2018) are not
void (as for the reasons indicated in Count 1), then that the Court finds that all
guilty findings found in the Boards’ final Order (Ex. 1) are void. Plaintiff seeks
monetary relief to include back pay for any period of time for which he was
deprived of his Melrose Park salary.

COUNT VIII: SCATCHELL’S CONVICTION FOR EXERCISE OF HIS FIFTH
AMENDMENT RIGHT NOT TO INCRIMINATE HIMSELF OFFENDS HIS

CONSTITUTIONAL RIGHT, AS WELL AS HIS SUBSTANTIVE DUE PROCESS
RIGHT, TO EXERCISE FIFTH AMENDMENT ENTITLEMENTS

1. Plaintiff repeats, re-alleges and incorporates by reference, the
allegations in all preceding paragraphs of this Complaint, especially the section
entitled “FACTS,” with the same force and effect as if herein set forth.

2. Plaintiff was found guilty of Count VIII. The Board having written
in part, in its Final Order (the Decision):

“As the Board understands Garrity v. New Jersey, 385 U.S. 493 (1967),

an employee may be coerced, under threat of discipline, to answer

questions related to his fitness for holding his job, as long as he is
advised that the statements cannot be used against him in

any criminal proceeding, but can form the basis for suspending or
discharging an employee.” (Order at page 6).

17
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 21 of 22 PagelD #:202

3. Plaintiff avers that such finding is inaccurate in the context of the
matter which was before the Board; therefore, a Constitutional right for which
the Plaintiff was entitled was violated where the Board found Plaintiff guilty of
exercising his Fifth Amendment Right not to incriminate himself.

4. Plaintiff was harmed by Defendants’ actions and conduct.

5. Plaintiff suffered harm which included loss of employment;
financial losses; legal fees; pain and suffering; and stress.

6. Defendants were and are the proximate cause of Plaintiffs
harm.

WHEREFORE, the Plaintiff prays that if the Circuit Court finds that the
Board’s decisions (multiple between April 2018 and December 6, 2018) are not
void ([as] for the reasons indicated in Count 1), then that the Court finds the
guilty finding as to Count VIII is void. Plaintiff seeks monetary relief to include
back pay for any period of time for which he was deprived of his Melrose Park
salary.

Dated: December 29, 2018
Respectfully,

s\Christopher Cooper, ESQ., Plaintiff's Attorney

Indiana Bar: 2123245; Illinois Bar: 6307550; Cook County: #49766
Law Office of Christopher Cooper, Inc.

Fraternal Order of Police Legal Defense Plan Attorney

79 West Monroe Street, Suite 1213, Chicago, IL 60610 [or]

426 N. Broad Street, Griffith, IN 46319

Tel: 312 473 2968 Tel: 219 228 4396 FAX: 866 334 7458
cooperlaw3234@gmail.com

18
Case: 1:18-cv-03989 Document #: 20-1 Filed: 01/24/19 Page 22 of 22 PagelD #:203

CERTIFICATE OF SERVICE & 109 STATEMENT
Under penalties as provided by Section 1-109 of the Illinois Code of Civil
Procedure, the undersigned certifies that she believes the contents to be true
and accurate. s\John Scatchell, 12-30-18

Proof for Service

The undersigned affirms that he caused the foregoing and attachments
to be e-filed with the Court on 12/30/2018. s\Christopher Cooper

19
